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 3   Chicago, Illinois 60602
 4   Telephone: (312) 337-7700
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 5
     Counsel to the Official Committee of Unsecured Creditors
 6
                                  UNITED STATES BANKRUPTCY COURT
 7                                       DISTRICT OF NEVADA
 8
     In re                                 )                     Jointly Administered under Case No. 18-
 9                                         )                     50609-btb with
                                           )
10   Ƒ X-TREME BULLETS, INC.,              )                     Case Nos. 18-50610-btb; 18-50611-btb; 18-
                                           )                     50613-btb; 18-50614-btb; 18-50615-btb; 15-
11                                         )                     50616-btb; and 18-50617-btb
     Ƒ HOWELL MUNITIONS &                  )
12   TECHNOLOGY, INC.,                     )                     Chapter 11 Proceedings
                                           )
13   Ƒ AMMO LOAD WORLDWIDE, INC.,          )                     PROFESSIONAL FEE STATEMENT
                                           )
14                                         )                     NUMBER: 11
     Ƒ CLEARWATER BULLET, INC.             )
15                                         )                     Month of: June 2019
                                           )
16   Ƒ HOWELL MACHINE, INC.,               )
                                           )
17   Ƒ FREEDOM MUNITIONS, LLC              )
                                           )
18                                         )
     Ƒ LEWIS-CLARK AMMUNITION              )
19   COMPONENTS, LLC,                      )
                                           )
20                                         )
     Ƒ COMPONENTS EXCHANGE, LLC,           )
21                                         )
     6 ALL DEBTORS                         )
22   _____________________________________ )
                                           )
23
     1.   Name of Professional                                        Goldstein & McClintock LLLP (“G&M”)
24   2.   Date of entry of order approving employment of the          August 21, 2018
          professional:
25   3.   Total amount of pre-petition payments received by the       N/A
          professional:
26   4.   Less: Total amount of pre-petition services rendered and    N/A
          expenses:
27   5.   Balance of funds remaining on date of filing of petition:   N/A
     6.   Total amount of all services rendered per prior fee         $108,437.48
28        statements:
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     7.  Total amount of payments received by the professional        $38,775.20
 1       for post-petition services rendered by the professional:
     8. Total amount of services and expenses this reporting          $10,867.50
 2       period:
     9. Amount authorized to be paid from the Debtors’ estates:       $8,694.00
 3   10. Total amount to be paid from the Debtors’ estates for this   $8,694.00
         reporting period:
 4
 5
     Detailed documentation supporting the fees earned and the expenses incurred by G&M during
 6
     this reporting period have been served on the United States Trustee, the Debtors, the Members of
 7
     the Creditors’ Committee, and any creditors requesting special notice in these cases. A copy of
 8
     the detailed documentation will be provided by G&M to any other party upon written request.
 9
     Fees and costs will be paid from property of the Debtors’ estates in the amount stated in Item 9
10
     above unless an objection is filed with the Clerk of the Court and served upon G&M within 10
11
     days from the date of service of this statement.
12
13
     11. Total number of pages attached hereto:                       4
14   The above is a true and correct statement of fees earned and expenses incurred during the
15   indicated reporting period.
16   Dated: July 19, 2019                                 Respectfully submitted,
17                                                        GOLDSTEIN & MCCLINTOCK LLLP

18
19                                                                /s/Thomas R. Fawkes
                                                          Thomas R. Fawkes, Esq.
20                                                        Brian J. Jackiw, Esq.
                                                          GOLDSTEIN &MCCLINTOCK LLLP
21
                                                          111 W. Washington Street, Suite 1221
22                                                        Chicago, IL 60602
                                                          Phone: (312) 337-7700
23                                                        Fax: (312) 277-2305
24
                                                          Counsel to the Official Committee of
25                                                        Unsecured Creditors
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        Case 18-50609-btb           Doc 555        Entered 07/22/19 09:47:50                     Page 5 of 6




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